             Case 5:06-cr-00246-RMW          Document 29       Filed 05/25/06      Page 1 of 3



1    KEVIN V. RYAN (CSBN 118321)
     United States Attorney
2
     EUMI L. CHOI (WVBN 0722)
3    Chief, Criminal Division
4    MARK L. KROTOSKI (CSBN 138549)
     Assistant United States Attorney
5
        150 Almaden Boulevard, Suite 900
6       San Jose, California 95113
        Telephone: (408) 535-5035
7       Facsmile: (408) 535-5066
        E-Mail: Mark.Krotoski@usdoj.gov
8
     Attorneys for Plaintiff
9
10                                UNITED STATES DISTRICT COURT
11                             NORTHERN DISTRICT OF CALIFORNIA
12                                        SAN JOSE DIVISION
                                                                       *E-FILED - 5/25/06*
13
14   UNITED STATES OF AMERICA,                    )      No. CR 06-00246-RMW
                                                  )
15           Plaintiff,                           )      STIPULATION REGARDING
                                                  )      EXCLUDABLE TIME AND
16      v.                                        )      ORDER
                                                  )
17   RAY MORADA,                                  )
       a/k/a rc51,                                )
18                                                )
             Defendant.                           )
19                                                )
20
        It is hereby stipulated and agreed between defendant Ray Morada, and his counsel Peter
21
     Leeming, and the United States as follows:
22
        This matter was set for a status conference on May 22, 2006 at 9:00 a.m. In this copyright
23
     infringement case, the defense needs more time to prepare, review discovery previously
24
     provided, including a substantial amount of digital evidence, and research legal and sentencing
25
     issues. The parties have also been discussing plea and sentencing issues. The defendant was
26
     only recently arraigned on this case on May 12, 2006. It is reasonable for the defense to have
27
     additional time to review the discovery, which includes some digital evidence.
28

     STIPULATION REGARDING EXCLUDABLE TIME AND ORDER
     CR 06-00246-RMW
            Case 5:06-cr-00246-RMW            Document 29        Filed 05/25/06       Page 2 of 3



1       The parties stipulate and move the Court to exclude time under the Speedy Trial Act from the
2    May 22, 2006, until June 19, 2006, because the parties believe that the ends of justice served by
3    the granting of such a continuance outweigh the best interests of the public and the defendant in a
4    speedy trial, particularly since reasonable time is needed for the defense to prepare for pretrial
5    and trial matters, pursuant to 18 U.S.C. §§ 3161(h)(8)(A), 3161(h)(8)(B)(ii). The parties further
6    stipulate that time may be excluded for reasonable time for defense preparation, since the failure
7    to exclude time would deny counsel for the defendant reasonable time necessary for effective
8    preparation, taking into account the exercise of due diligence, and for continuity of counsel,
9    pursuant to 18 U.S.C. §§ 3161(h)(8)(A), 3161(h)(8)(B)(iv).
10      So stipulated.
11   Dated: May __, 2006                                   KEVIN V. RYAN
                                                           United States Attorney
12
13                                                         ________/S/________________
                                                           MARK L. KROTOSKI
14                                                         Assistant United States Attorney
15      So stipulated.
16   Dated: May __, 2006
17                                                         ________________________
                                                           PETER LEEMING
18                                                         Attorney for Defendant Morada
19
20
21
22
23
24
25
26
27
28

     STIPULATION REGARDING EXCLUDABLE TIME AND ORDER
     CR 06-00246-RMW                    Page 2 of 3
            Case 5:06-cr-00246-RMW            Document 29        Filed 05/25/06      Page 3 of 3



1                                                  ORDER
2       Based upon the foregoing Stipulation and good cause appearing therefor,
3       IT IS HEREBY ORDERED that the status conference set for May 22, 2006 at 9:00 a.m. for
4    defendant Morada shall be continued to June 19, 2006 at 9:00 a.m.
5       IT IS FURTHER ORDERED that the time between May 22, 2006, until June 19, 2006
6    shall be excluded from the computation period within which the trial must commence, for the
7    reasons and based upon the statutory provisions set forth by the parties in this Stipulation,
8    including that time is needed for effective defense preparation.. The Court finds that the ends of
9    justice outweigh the interests of the public and the parties in a speedier trial under 18 U.S.C. §§
10   3161(h)(8)(A), 3161(h)(8)(B)(ii) (complexity), 3161(h)(8)(B)(iv) (reasonable time necessary for
11   effective preparation taking into account the exercise of due diligence).
12              25 2006
     DATED: May __,
13                                                          /S/ RONALD M. WHYTE
                                                           _________________________
                                                           RONALD M. WHYTE
14                                                         United States District Judge
15
16
17
18
19
20
21
22
23
24
25
26
27
28

     STIPULATION REGARDING EXCLUDABLE TIME AND ORDER
     CR 06-00246-RMW                    Page 3 of 3
